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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

_________________________________________________________________

UNITED STATES OF AMERICA,
                                       Criminal No. 11-329 (RHK/TNL)
                Plaintiff,
                                       PRELIMINARY ORDER OF
                                       FORFEITURE
v.

1.   MATTHEW MARTIN HECKER,

2.   BOYD ETHAN WILKINSON,


               Defendants.
_________________________________________________________________


     Based on the United States’ Motion for a Preliminary Order

of Forfeiture; on the Plea Agreements entered into between the

United States and Defendants Matthew Martin Hecker and Boyd Ethan

Wilkinson; on the Court having found that certain property is

subject to forfeiture pursuant to 21 U.S.C. § 853; and on the

Court’s determination that, based on the Plea Agreements entered

into by the Defendants and based on all of the files and records

of this proceeding, the Government has established the requisite

nexus between such property and the offenses to which the

Defendants have pled guilty,

     IT IS HEREBY ORDERED that:

     1.   The Motion of the United States for a Preliminary Order

of Forfeiture (Doc. No. 93) is GRANTED;

     2.   The following property is forfeited to the United
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States pursuant to 21 U.S.C. § 853:

     a.   $2,600.00 in United States Currency seized from Matthew

          Martin Hecker;

     b.   an iPad 2 with serial number DN6FNGRDDFJ3 and an IMEI

          number of 01-267000-325338-8 seized from Matthew Martin

          Hecker;

     c.   $13,994.00 in United States currency seized from Boyd

          Ethan Wilkinson; and

     d.   an iPad 2 computer device seized from Boyd Ethan

          Wilkinson;

     3.   The Attorney General or his authorized designee may

seize the foregoing property and maintain custody and control of

the property pending the entry of a Final Order of Forfeiture;

     4.   The United States shall, pursuant to 21 U.S.C.

§ 853(n)(1), publish and give notice of this Order and its intent

to dispose of the foregoing property in such manner as the

Attorney General may direct;

     5.   Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B),

this Preliminary Order of Forfeiture shall become final as to the

Defendants at the time of sentencing, and shall be made a part of

the sentence and included in the judgment;

     6.   Following the Court’s disposition of all petitions

filed pursuant to 21 U.S.C. § 853(n)(2) or, if no petitions are

filed, following the expiration of the time period specified


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within which to file such petitions, the United States shall have

clear title to the foregoing property and may warrant good title

to any subsequent purchaser or transferee; and

     7.    This Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary pursuant to Fed. R. Crim. P.

32.2(e).



Dated: February 9, 2012
                                  s/Richard H. Kyle
                                  RICHARD H. KYLE
                                  United States District Judge




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